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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                       Case No.: 1:19-cv-20592-MARTINEZ/OTAZO-REYES


   VASSILIOS KUKORINIS, on behalf of
   himself and those similarly situated,

                   Plaintiffs,

           v.

   WAL-MART STORES, INC., a Delaware
   corporation

                             Defendant.


                                 JOINT NOTICE OF SETTLEMENT

         Plaintiff, Vassilios Kukorinis (“Plaintiff”) and Defendant Wal-Mart Stores, Inc. k/n/a

  Walmart Inc. (“Walmart”) (collectively the “Parties”), respectfully give notice, pursuant to Local

  Rule 16.4, that they have reached a confidential settlement in principle on a nationwide class

  settlement of this case.

         The Parties are in the process of drafting the necessary paperwork to memorialize the terms

  of this nationwide settlement, including the full settlement agreement itself, all proposed forms of

  notice, as well as proposed claim forms, and anticipate being in a position to file a motion for

  preliminary approval of this nationwide settlement on or before July 15, 2020. The Parties

  respectfully request this Court stay this case and all deadlines until July 15, 2020 to provide the

  additional time necessary to finalize this paperwork.




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  Dated: June 8, 2020                  Respectfully submitted,

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       Counsel for Plaintiff Vassilios Kukorinis       Counsel for Defendant Walmart Inc




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                                  CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that on this 8th day of June, 2020, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record via transmission of Notices of Electronic Filing

  generated by CM/ECF.


                                                             /s/ John A. Yanchunis
                                                             JOHN A. YANCHUNIS




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